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 IN THE UNITED STATES DISTRICT COURT
 FOR THE SOUTHERN DISTRICT OF NEW YORK


 IN RE:                                              CHAPTER 11

 LEHMAN BROTHERS HOLDINGS INC., ET AL.,              Case No. 08-13555 (JMP)

 Debtors.                                            (Jointly Administered)




   AMENDMENT TO EXHIBIT A TO THE OBJECTION OF U.S. BANK NATIONAL
     ASSOCIATION, NOT INDIVIDUALLY BUT AS TRUSTEE, TO NOTICES OF
    PROPOSED ASSUMPTION OF EXECUTORY CONTRACTS AND UNEXPIRED
  LEASES PURSUANT TO DEBTORS’ THIRD AMENDED JOINT CHAPTER 11 PLAN
          PURSUANT TO SECTION 1121 OF THE BANKRUPTCY CODE
          U.S. Bank National Association, not in its individual capacity but as Trustee (“U.S.

 Bank” or the “Trustee”), by its undersigned attorneys, respectfully submits this Amendment to

 Schedule A to its objection (the “Objection”) to the Notices of Proposed Assumption of

 Executory Contracts and Unexpired Leases Pursuant to Debtors’ Third Amended Joint Chapter

 11 Plan Pursuant to Section 1121 of the Bankruptcy Code (collectively, the “Notices”). Based

 upon a further review of the Plan Amendments, the Amendment to Schedule A adds five

 additional contracts to the definitive list provided with the original objection.




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 Dated: November 17, 2011

                                                Respectfully submitted,

                                                U.S. BANK NATIONAL ASSOCIATION, AS
                                                  TRUSTEE

                                                              /s/ Craig Price
                                                By: ___________________________________
                                                                One of Its Attorneys

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